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                   SUPPLEMENTAL DECLARATION OF EDNA YANG,
                            AMERICAN GATEWAYS

I, Edna Yang, declare pursuant to 28 U.S.C. § 1726, as follows:

   1. My name is Edna Yang, and I am currently the co-executive Director of American

Gateways. I have worked at American Gateways since 2002. I have personal knowledge of the

matters set forth herein, and I can and will testify thereto if called upon to do so.

   2. In my earlier declaration submitted in this case, I addressed the substantive harm that

American Gateways will experience because of a new Rule issued by the Department of

Homeland Security and the Department of Justice titled Circumvention of Lawful Pathways (“the

Rule”). This declaration addresses the similar harms that the previous transit ban, Asylum

Eligibility and Procedural Modifications, 84 Fed. Reg. 33,829 (July 16, 2019), inflicted on

American Gateways while it was in effect between September 2019 and June 2020. This

declaration is meant to supplement my prior declaration and does not repeat prior content unless

relevant.

   3. As previously stated (at ¶ 3), the mission of American Gateways is to champion the

dignity and human rights of immigrants, refugees, and survivors of persecution, torture, conflict,

or human trafficking. Many aspects of our work were impacted by the prior transit ban.

   4. For example, American Gateways provides direct representation to people appearing in

the San Antonio Immigration Court. Many of these clients were subject to and harmed by the

transit ban when it was in place. We also provide legal orientation, immigration workshops, and

pro bono legal representation at three immigrant detention facilities in Central Texas: the T. Don

Hutto Residential Center in Taylor, Texas; the South Texas Residential Center in Pearsall,

Texas; and the Karnes County Residential Center in Karnes City, Texas. We also provide pro se

support to detained people through our federally-funded Legal Orientation Program. We

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routinely encountered people subject to the transit ban in our detained legal services work in all

of these capacities, and that ban had a detrimental impact on that work.

          The Transit Bar Seriously and Irreparably Harmed American Gateways

   5. The transit bar frustrated the mission of American Gateways, forced us to divert

organizational resources, and caused irreparable harm to the organization.

   6. Our representation of clients subject to the transit ban took significantly more time and

labor than our representation of other clients. This was for three reasons: First, we had to litigate

adversarial, defensive Form I-589 applications in immigration court for clients who would

otherwise would have been granted asylum affirmatively after non-adversarial interviews.

Second, those clients were ineligible for asylum in immigration court and could pursue only

withholding of removal and relief under the Convention Against Torture, which involve higher

standards of proof, and which require separate applications for each family member. And third,

these higher standards forced us to litigate more appeals for clients subject to the transit ban who

otherwise would have been granted relief in immigration court. As stated in my earlier

declaration (at ¶¶ 18-25), the Rule will have similar effects. Indeed, because we will also have to

screen clients covered by the Rule for potential exceptions—and then work to gather evidence

and develop arguments for those who might plausibly satisfy an exception—the new Rule will

divert even more of our time and resources.

   7. The transit ban also forced American Gateways to divert resources in other ways. In

particular, we were forced to revise many of our Legal Orientation Program materials to explain

the bar—and the need to seek withholding or CAT relief—to participants. This consumed

significant staff time and effort. As discussed in my earlier declaration (at ¶¶ 26-27), the Rule

will again have similar effects.



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   8. The transit ban also had an adverse impact on our work representing people in the

credible fear interview process and in helping people understand removal proceedings via our

Legal Orientation Program. Many more of the people we saw in this line of work were ineligible

for asylum because of the transit ban, and we did not have the capacity to advocate for all of

these people to overcome the bar. This caused significant frustration and burnout amongst our

staff as we tried to fight a barrier that was often insurmountable. Here too, I expect the effect of

the new Rule to be the same.

   I declare under penalty of perjury that the foregoing is true and correct.

Executed this 23rd day of June 2023.




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